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                 Exhibit B
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FreeSpace® E4 Series II Business Music System
                       OWNER’S GUIDE
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                 DECLARATION OF CONFORMITY
        We, the offerer:   Bose Corporation
                           The Mountain
                           Framingham, MA 01701-9168 USA
        acknowledge our sole responsibility, that the product,
                        Kind of equipment: Amplifier
                        Type designation:        FreeSpace® E4 Series II business music system
        in accordance with EMC Directive 89/336/EEC and Article 10(1) of the Directive,
        is in compliance with the following norm(s) or document(s):
                          Technical Regulations: EN 55103-1(E2)/EN 55103-2(E2)
                          Report Number:           EMC.N9C.02.170.1
                           Test laboratory:   Bose Corporation
                                              1 New York Avenue
                                              Framingham, MA 01701 USA
           and in accordance with the Low Voltage Directive 73/23/EEC, is in compliance
           with the following norm(s) or document(s):
                           Technical Regulations:           EN 60065/IEC 60065
                           Certificate/Report Number:       S2171542/E2171622
                           Accredited test laboratory:    TÜV Rheinland
                                                          Sicherheit und Umweltschutz GmbH
                                                          Am Grauen Stein, D-51101 Köln, Germany



        07/10/2004
        Bose B.V.                                                                         Nic Merks
        Nijverheidstraat 8, 1135                                              Vice President, Europe
        The Netherlands                                  Manufacturer’s authorized EU representative




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                                 2.0 Designing with the E4 System

2.2.5 Step 5 – Determine the E4                                     Now we can take a look at how the maps we created can help us
      requirements                                                  determine the quantity of E4s we will need.

Once you have identified the areas that use Auto Volume and
unique loudspeakers, you can combine different areas based on
the types of sources and controls they are using.




                            Sources                   Controls                      Loudspeakers

                      1      2     3     4     AV1    AV2   VC1      VC2    M32SE        FS3      Total W     E4 Ch.

           Area 1     ●            ●            ●                                         ●         100          1

           Area 2     ●     ●            ●                             ●       ●                     40          2

           Area 3     ●            ●                   ●                                  ●          50          3

           Area 4     ●                                         ●              ●                     12          4

           Area 5     ●                                         ●              ●                     48          4

                                                                           Total System Power = 250W
         By combining the maps you can easily combine sources, speaker types, and control types. The information placed
         in this table suggests that Area 1 and Area 3 need to be grouped separately because they are Auto Volume zones
         requiring separate E4 system outputs. Area 2 uses one standard volume control requiring one E4 output channel.
         Areas 4 and 5 share a common volume control and can be combined on a third E4 output channel. Since only four
         outputs are required and the total combined power requirement is less than 400W, only one E4 unit would be
         needed for this system.




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                                                  6.0 E4 System Setup
          Programmer’s Note: If you are using the E4 system to          6.3.3 Input gain
          drive speakers that are not Bose® products, choose the
          No EQ setting or one of the four high-pass filter settings    The Input Gain controls allow you to adjust functions related to
          at the end of the list.                                       the input source signal.

The No EQ setting helps protect the E4 against loudspeaker trans-                                          Gain          Input signal
former saturation when non-Bose loudspeakers are connected to           Source type                        slider        level meter
the E4 hardware. This setting acts as a band pass filter and allows
energy between 80 Hz and 16 kHz to be sent to the amplifier sec-
tion of the E4 electronics.
                                                                                                                                            ®




If you change the speaker EQ type, any subzones will be automati-
cally changed to the new Speaker EQ setting, and be given the
default loudspeaker tap. Depending on the quantity and tap of
speakers, you could receive an error message notifying you that the
system exceeds the 400 W limitation of the E4 system. If this prob-      Mic phantom                            Signal             Opti-source
lem occurs, delete the subzones from the subzone list. This will         power On/Off                           present            input leveling
allow you to change the speaker EQ type.                                                                        indicator          On/Off
Subzones table – The Subzones table allows you to document
the speakers used in a zone.                                            Factory default settings
A zone is a group of speakers that are driven by the same ampli-         Input Type        Initial Gain    Gain Range        Opti-source
fier output channel. A subzone is a group of speakers within a
zone that use a common tap or are of a common type.                      Mic               40 dB           80 dB             Off
                                                                         Line              0 dB            70 dB             Off
For example, you may have installed ten Model 16 speakers in a
dining room and set it up as a zone to be driven by channel 1. In        Mic Page          40 dB           80 dB             On
this zone you may have established two subzones, one with five           Line Page         0 dB            60 dB             On
Model 16 speakers tapped at 8W and the other with five tapped
at 16W.                                                                              Programmer’s Note: Input gain controls are disabled if
                                                                                     the input channel is routed to a zone in which Auto Vol-
To add a subzone                                                                     ume is enabled (on). You will only be able to change/
                                                                                     adjust the input gain by resetting the Auto Volume for the
Click the Add button. When the Add Subzone window appears,                           affected zone.
enter a name for the new subzone, select the speaker model
installed, enter the quantity, and select a tap setting. The Model      Input gain circuit block diagram
Name list will include only speakers that are compatible with the
Speaker EQ you selected.                                                        Gain              Signal         3-band            Opti-source
                                                                             adjustment            level        equalizer*          leveling
Click OK to add the selections to the subzone table.                                              meter



                                                                                                                          EQ         SRC
                                                                                                                                    LEVEL



                                                                                               Signal detector

                                                                             * Only available for MIC/LINE and MIC/PAGE/LINE inputs. See “Source
                                                                               EQ” on page 50.
To delete a subzone
In the subzones table, select the subzone to be removed and
click the Delete button.




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